               Case 3:18-cv-01016-MO        Document 18           Filed 02/04/19   Page 1 of 2




Pilar C. French, OSB No. 962880
frenchp@lanepowell.com
Kelsey M. Benedick, OSB No. 173038
benedickk@lanepowell.com
LANE POWELL PC
601 SW Second Avenue, Suite 2100
Portland, Oregon 97204-3158
Telephone: 503.778.2100
Facsimile: 503.778.2200

Attorneys for Defendant Chase Bank USA, N.A.




                                UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

                                       PORTLAND DIVISION




WILLIAM WALTERS,                                               Case No. 3:18-cv-001016-MO

                                        Plaintiff,
                                                               ORDER OF DISMISSAL
         v.
JPMorgan Chase Bank, N.A., and DOES 1
through 100, inclusive,

                                    Defendants.

         This matter having come before the Court pursuant to the parties' Stipulation re Dismissal

of Plaintiffs TCPA Claim, and the Court having considered the foregoing,

         IT IS HEREBY ORDERED that pursuant to the stipulation of the parties:

          1.       Plaintiffs claims against Chase are dismissed with prejudice, without an award of

fees or costs to any party; and




PAGE 1 - ORDER OF DISMISSAL

                                                LANE POWELL PC
                                      601 SW SECOND AVENUE, SUITE 2100
122006.0177/7550167.1                    PORTLAND, OREGON 97204-3158
                                          503.778.2100 FAX: 503.778.2200
            Case 3:18-cv-01016-MO         Document 18            Filed 02/04/19   Page 2 of 2




         2.        Chase's counterclaims are stayed pending resolution of plaintiffs bankruptcy

petition.

         IT IS SO ORDERED.



         DATED this ~ y of February, 2019.




                                                                           ichael W. Mosman

SUBMITTED BY:

 Kelsey Benedick, OSB No. 173038
 Telephone: 503.778.2100
 Email: benedickk@lanepowell.com
 Attorneys For Defendant Chase Bank USA,
 N.A.




PAGE 2 -       ORDER OF DISMISSAL

                                                LANE POWELL PC
                                     60 I SW SECOND A VENUE, SUITE 2100
122006.0177/7550167.1                   PORTLAND, OREGON 97204-3158
                                          503.778.2100 FAX: 503.778.2200
